                                                                                         FILED
                                                                                    CHARLOTTE, NC

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                                                                                            . B 2015
                      IN THE LINITED STATES DISTRICT COURT   I Is nISTRICT COURT
                  FoR THE *ESTERN DISTRICT oF N.RTH cARoL'NaweliinH DlsrRlcr oF Nc
                               CHARLOTTE DIVISION

                                 CRIMINAL NO.:3:15cr20‑RJC

UNITED STATES OF AMERICA                             )

                                                     )      CONSENT ORDER AND
       V.                                            )     JUDGMENT OF FOMEITURE
                                                     )      PENDING RULE 32.2(c)(2)
PABLO MUNOZ                                          )




        BASED UPON the defendant's conviction and finding that there is a nexus between the
property listed below and the offense(s) to which the Defendant has been convicted and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or
other legal interest in the property, IT IS HEREBY ORDERED THAT:

       l.       The following property is forfeited to the United States pursuant to 21 U.S.C. $
853 and/or 28 U.S.C. $ 2461(c), provided, however, that forfeiture of specific assets is subject to
any and all third party petitions under 21 U.S.C. $ 853(n), pending final adjudication herein:

       o Colt Government Model .38 caliber pistol, serial#2826763
       o Beretta Model 964' I .40 caliber pistol, serial #A51488M
       . Mossberg 12 gauge shotgun, serial #J191436
       o Colt Super 38 automatic, .38 caliber pistol, serial #28331 l9
       o FNH USA LLC Model 5-7 (FNP357) 5.7 or .357 caliber pistol, serial #386245606
       o Century Arms Model M70AB2 7.62 caliber rifle, serial #M70A825604
       o Spike's Tactical Model STl5 .223 caliber rifle, serial #SBR-65139
       o Smith & Wesson Model M&P 15 .223 caliber rifle, serial #SN93871
       o Colt Model Super 38 automatic, .38 caliber pistol, serial #ELCEN7980
       o AMT (California Arcadia) Model Backup II, .380 caliber pistol, serial #Rl0529
       o Century Arms AK pistol, 7.62 caliber, serial #AKP-C900034
       o Benelli Model M Super 90 12 gauge shotgun, serial #M205 142
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       o Marlin Model 60 .22 caliber rifle, serial #23476567
       o Diamondback Arms Model DB-15 .223 caliber pistol, serial #DB1528578
       o Walther Model Colt Rail Gun, .22 caliber pistol, serial #WD006004
       o Ruger Model 10122 .22 caliber rifle, serial #247-73724
       o Kahr Arms-Auto Ordnance 12 gauge shotgun, serial #TRl2088240
       o Beretta Model 950 BS .25 caliber pistol, serial #8ER28027V
       o All funds in Fidelity bank accounts xxxx2485, xxxx7390,xxxx6l08, xxxxl370,
            xxxx0509, xxxx7648, and xxxx2840




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            Alt funds in Wells Fargo bank accounts xrrx8906, xxxx6707, xxxx0734, xxxx0746,
            xxxxO509, xxxx7648, xxxx2840
            The real property located at 314 Church Street, Montgomery County, Biscoe, North
            Carolina
            The real property located at l0l1 Chamberline Drive, Randolph County, Asheboro,
            North Carolina
            The real property located at 413 South Whisky, Montgomery County, Candor, North
            Carolina,
            The real property located at I l0 E. Main Street, Montgomery County, Biscoe, North
            Carolina
            The real property located at 344 Windy Lane, Montgomery County, Candor, North
            Carolina
            The real property located at 406 Blake Street (two tracts), Montgomery County,
            Biscoe, North Carolina
            The real property comprising approximately 23.06 acres located on Tarry Church
            Road, Moore County, more particularly described in Deed Book 3687, Page 335
            The real property comprising approximately 54.842 acres in Rocky Springs
            Township, Montgomery County, more particularly described in Deed Book 595, Page
            35. Eagle Springs. North Carolina
            The real property comprising approximately 61.643 acres in Rocky Springs
            Township, Montgomery County, more particularly described in Deed Book 709, Page
            370, Eagles Spring, North Carolina

       2.       The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody ofthe above specific asset(s).

       3.      lf and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 2l U.S.C. $ 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written
notice of forfeiture.

       4.     A forfeiture money judgment shall be included in the defendant's sentence, and
the United States may take steps to collect the judgment from any property of the defendant,
provided, the value of any forleited specific assets shall be credited toward satisfaction of this
money judgment upon liquidation

        5. Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days ofthe publication of notice or the receipt ofnotice, whichever is earlier,
petition the court for a hearing to adjudicate the vatidity ofthe alleged interest.

        6. Pursuant to Fed. R. Crim. P. 32.2(bX3), upon entry ofthis order, the United States
Attorney's Office is authorized to conduct any discovery needed to identifu, locate, or dispose of
the property, including depositions, interrogatories, and request for production ofdocuments, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.




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        7.      As to any specific assets, following the Court's disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

        The parties stipulate and agree that the aforementioned asset(s) constitute property
derived from or traceable to proceeds of Defendant's crime(s) herein or property used in any
manner to facilitate the commission of such offense(s) and are therefore subject to forfeiture
pursuant to 18 U.S.C. $ 924(d), 2l U.S.C $ 853 and/or 28 U.S.C. $ 2a61(c). The Defendant
hereby waives the requirements of Fed. R. Crim. P. 32.2 and 43(a) regarding notice of the
forfeiture in the charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment against Defendant. If the Defendant has
previously submitted a claim in response to an administrative forfeiture proceeding regarding
any of this property, Defendant hereby withdraws that claim. If Defendant has not previously
submitted such a claim, Defendant hereby waives all right to do so. As to any firearms listed
above and/or in the charging instrument, Defendant consents to destruction by federal, state, or
local law enforcement authorities upon such legal process as they , in their sole discretion deem
to legally sufficient, and waives any and all right to further notice of such process or such
destruction..



ЛLL WESTMORELAND ROSE
ACTING STATES ATTORNEY
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                                                 PABLO MUNOZ
Assistant United States Attomey                  Defendant                         ι




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Sttned thS the/day ofApJ 2015.




                                                                     VID Co KEESLER
                                                                    S NIAGISTRATE JUDGE




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